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  IT IS ORDERED as set forth below:



   Date: February 18, 2025
                                                           _________________________________

                                                                    Barbara Ellis-Monro
                                                               U.S. Bankruptcy Court Judge

 ________________________________________________________________

                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 IN RE:
                                                              CASE NO. 03-93031-BEM
 GROUP MANAGEMENT CORP.,

          Debtor.                                             CHAPTER 11

                                           ORDER

               An appeal has been filed in this case which was accompanied by a letter from Mr.

Ulysses T. Ware in which Mr. Ware requests that this Court hold a status conference under 11

U.S.C. § 105(d) to establish a briefing schedule on the asserted jurisdictional issue. This Court

addressed its jurisdiction, the standing of claimants who held or hold certain convertible

promissory notes issued by Debtor, and Mr. Ware in an order entered October 22, 2024, (the

“October Order”). Thus, to the extent Mr. Ware seeks relief from the Bankruptcy Court, there is

no action this Court can take until the District Court rules on the appeal. U.S. Commodity Futures

Trading Comm'n v. Escobio, 946 F.3d 1242, 1251 (11th Cir. 2020). Furthermore, letters are not

proper pleadings. BLR 9003-2.
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                    Notwithstanding the short duration of the case1, which was filed on March 18, 2003,

and dismissed with consent of Debtor on May 21, 2003, Mr. Ware, an attorney who was prohibited

from practice in the Bankruptcy Court for the Northern District of Georgia at the time the case was

filed and was subsequently disbarred in Georgia, has inundated the Court with letters, documents

and purported pleadings. The October Order sets forth the litany of filings submitted by Mr. Ware

to that point. [Doc. 256, pp. 6, 9, 50]. Thereafter, the Court entered an order denying all pending

motions [Doc. 274] and an Order Finding Ulysses T. Ware Is A Vexatious Litigant and Limiting

His Future Filing In This Case (the “Bar Order”). [Doc. 275].

                    In the October Order, the Court ordered that (i) the Clerk must only place on the

docket of the Group Management case papers properly filed with the Clerk (not emailed) and

which are orders, judgments or activities reflecting request for relief in this bankruptcy case, (ii)

the Clerk need not file or docket papers delivered to the Clerk if they are copies of pleadings filed

in cases other than this bankruptcy case, copies of correspondence sent to any person or entity, or

correspondence to the Clerk, and (iii) Mr. Ware had time to file a response to show cause why he

should not be deemed a vexatious litigant and be prohibited from making any further filings in this

closed bankruptcy case. [Doc. 256, p. 53]. The Court held a hearing for Mr. Ware to show cause

on December 8, 2022, at which Mr. Ware appeared by video.

                    As is shown in the Court’s December 13, 2024, Order, (the “December Order”) Mr.

Ware failed to abide by the October Order and filed six motions between entry of the October

Order on October 24 and the December Order on December 13, 2022 [Doc. 274, p. 2]. In the

December Order, in determining that no grounds existed to reconsider the October Order, the Court




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    This case was closed on June 3, 2003, and remains closed.

                                                           2
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noted that if Mr. Ware disagrees with the Court’s rulings that an appeal is the appropriate remedy.

Id. at 15.

               In the Bar Order the Court reviewed the history of this closed case and the show

cause hearing held after entry of the October Order. The Court will not restate the history or

analysis in each of the October Order, the December Order or the Bar Order but assumes

familiarity with each and fully adopts each of the Orders and their findings. In addition, the Court

reviewed Mr. Ware’s behavior in cases pending in the Southern District of New York and the

Second Circuit where he, as he has done here, inundated the court in closed cases with

inflammatory and frivolous papers. [Doc. 275 pp. 8-12]. The Court concluded that Mr. Ware is a

vexatious litigant and barred him from filing any pleadings in this case except a notice of appeal

to the United States District Court for the Northern District of Georgia or the Eleventh Circuit

Court of Appeals and any documents necessary to prosecute the appeal, such as the designation of

the record or requests for transcripts. The Court noted further that all filing limitations that were

included in the October Order continue to apply.

               Notwithstanding these Orders and filing restrictions, since May 29, 2024, Mr. Ware

has sent over 100 emails to now retired Judge Hagenau’s and this judge’s chambers email

addresses. These emails are composed of orders and memoranda concerning cases (long closed)

pending in the Southern District of New York and filing repetitive, inflammatory and frivolous

.pdf attachments with emails related to this long-closed bankruptcy case. The emails often contain

allegations of unlawful actions by judges and employees of this Court, lawyers, attorneys for the

United States Trustee among others. Each of these arguments were addressed in the October Order.

[Doc. 256, pp. 10-17, 29-43]; [Doc. 274, pp. 6-8].




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              While the Court can take no substantive action while the appeal is pending in the

District Court it can and will take action to control the purported filings sent by Mr. Ware via

email. The constant emailing by Mr. Ware of voluminous, repetitive, abusive and frivolous

documents wastes judicial resources and administrative time and must stop. Therefore, the Court

will begin the return of all documents submitted through email and will henceforth return any

email received from Mr. Ware unopened and it is now, hereby,

              ORDERED that the Court will not review and will return all emails received from

Mr. Ware.

                                      END OF ORDER




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